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10     Attorneys for Plaintiff
11
                            UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
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14
       JAMES ZILBERT, individually and on             No. 2:17-cv-02617-JAK
15
       behalf of all others similarly situated,       STIPULATION REQUESTING
16                                                    CONSOLIDATION OF ZILBERT AND
       Plaintiff,                                     PETERSON CASES AND
17                                                    SELECTION OF PANEL MEDIATOR
18            vs.                                     [[Proposed] Order Lodged Concurrently
                                                      Herewith]
19
       CREDIT CORP. SOLUTIONS, INC.,                  Hon. John A. Kronstadt
20
                                                      Action Filed: April 5, 2017
21                     Defendant.
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  1         This Stipulation is entered into by (i) James Zilbert, the plaintiff in the instant
  2   case (the “Zilbert Case”), (ii) Erika Peterson, the plaintiff in a similar case entitled
  3   Erika Peterson v. Credit Corp. Solutions, Inc., Case No. 2:17-cv-05643-JAK-SK (the
  4   “Peterson Case”), which is also pending before the Hon. John A. Kronstadt, and (iii)
  5   Credit Corp. Solutions, Inc. (“CCSI”), which is a defendant in both cases. Zilbert,
  6   Peterson, and CCSI enter into this Stipulation by and through their respective
  7   counsel, based on the following recitals, all of which pertain to events in 2017:
  8         WHEREAS,
  9         A.     On April 5, 2017, Zilbert commenced the Zilbert Case in the Central
10    District of California by filing a Complaint against CCSI that asserted Class claims
11    under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”)
12    and Rosenthal Fair Debt Collection Practices Act, Cal. Civ. C. § 1788 et. seq.
13    (“RFDCPA”);
14          B.     On April 24, 2017, Peterson commenced the Peterson Case in the
15    Eastern District of California by filing a Complaint against CCSI that asserted Class
16    claims under the FDCPA and RFDCPA;
17          C.     Peterson was related to Zilbert and transferred to the Central District of
18    California on or about June 30, 2017;
19          D.     Peterson and Zilbert were transferred to the Honorable John A.
20    Kronstadt on October 18, 2017 for all further proceedings [Dkt. 29];
21          E.     Following a Motion for Judgment on the Pleadings that was granted
22    with leave to amend, Zilbert has filed a second amended complaint [Dkt. 37] and
23    Defendant has filed an Answer [Dkt. 39];
24          F.     In the Peterson case, Defendant has also filed an Answer [Dkt. 7];
25          G.     At the December 18, 2017 Rule 26(f) Conference, the Parties discussed
26    with the Court about consolidating the Zilbert and Peterson cases because they are
27    substantially related, and the Court ordered the Parties to further confer and file a
28    stipulation by January 8, 2018 [Dkt. 38];
                                                  2                              STIPULATION
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  1         H.     Zilbert, Peterson, and CCSI agree that it would be more efficient for the
  2   Court and the parties if the Zilbert and Peterson Cases were consolidated, because
  3   both cases involve the same legal claims and standards, a common defendant, and
  4   substantially similar factual allegations;
  5         I.     Pursuant to the proposed Consolidation, the parties also request that the
  6   Court adopt for consolidation purposes, the Scheduling order issued in the Peterson
  7   matter, Case No. 2:17-cv-05643-JAK-SK, Dkt. 30.
  8         J.     With regard to proposed mediators, the parties select panel mediator
  9   Leonard L. Gumport, Esq. The parties respectfully request that the Court adopt the
10    mediation completion date of April 30, 2018, as set forth in the Peterson Scheduling
11    Order, Dkt. 30.
12          K.     This Stipulation is made in good faith and not for purposes of delay;
13          NOW, THEREFORE, BASED ON THE FOREGOING RECITALS,
14    ZILBERT, PETERSON, AND CCSI STIPULATE AND AGREE THAT:
15           1.    The Zilbert and Peterson Cases should be consolidated into one action,
16    before the Hon. John A. Kronstadt;
17           2.    The Scheduling Order in Peterson (Dkt. 30 in Case No. 2:17-cv-05643-
18    JAK-SK) should govern the Consolidated Cases;
19           3.    Leonard L. Gumport, Esq. shall be appointed as panel mediator for the
20    consolidated matters.
21
       Dated:       January 8, 2018                CARLSON & MESSER LLP
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23
                                                   By: /s David J. Kaminski
24                                                    David J. Kaminski
                                                      Attorneys for Defendant Credit Corp.
25                                                    Solutions, Inc.
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                                                   3                           STIPULATION
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  1    Dated:     January 8, 2018           LAW OFFICES OF TODD M.
                                            FRIEDMAN, P.C.
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  3
                                            By: /s Todd M. Friedman
  4                                            Todd M. Friedman
                                               Attorney for Plaintiff James Zilbert
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                                            4                            STIPULATION
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  1   Filed electronically on this 8th Day of January, 2018, with:
  2   United States District Court CM/ECF system.
  3   Notification sent electronically on this 8th Day of January, 2018, to:
  4   Honorable John A. Kronstadt
  5   United States District Court
      Central District of California
  6
      And All Counsel of Record as Recorded On The Electronic Service List
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  9   /s/ Todd M. Friedman, Esq.
10    TODD M. FRIEDMAN
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